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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         Case No. 2:11-cr-00353-MCE

12                  Plaintiff,                         STIPULATION AND PROTECTIVE
                                                       ORDER
13          v.

14   SEAN McCLENDON,
     ANTHONY SALCEDO,
15   ANTHONY WILLIAMS,

16                  Defendants.

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            WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of
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     certain sensitive but unclassified discovery materials to anyone not a party to the court
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     proceedings in this matter;
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            WHEREAS, the parties agree that entry of a stipulated protective order is appropriate; and
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            WHEREAS, the defendant SEAN McCLENDON has counsel who wishes the opportunity
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     to review the discovery,
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            Defendant SEAN McCLENDON and Plaintiff United States of America, by and through
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     their counsel of record, hereby agree and stipulate as follows:
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            1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules
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     of Criminal Procedure, and its general supervisory authority.
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             2.      This Order pertains to all discovery provided to or made available to Defense
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     Counsel as part of discovery in this case (hereafter, collectively known as “the discovery”).
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             3.      Defense Counsel shall not disclose any of the discovery to any person other than
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     his client, or attorneys, law clerks, paralegals, secretaries, experts, and investigators, involved in
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     the representation of his client.
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             4.      The discovery and information therein may only be used in connection with the
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     litigation of this case and for no other purpose. The discovery is now and will forever remain the
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     property of the United States Government. Defense Counsel will return the discovery to the
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     Government or certify that it has been shredded at the conclusion of the case.
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             5.      Defense Counsel will store the discovery in a secure place and will use reasonable
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     care to ensure that it is not disclosed to third persons in violation of this agreement.
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             6.      If Defense Counsel releases custody of any of the discovery, or authorized copies
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     thereof, to any person described in paragraph (3), Defense Counsel shall provide such recipients
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     with copies of this Order and advise that person that the discovery is the property of the Unites
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     States Government, that the discovery and information therein may only be used in connection
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     with the litigation of this case and for no other purpose, and that an unauthorized use of the
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     discovery may constitute a violation of law and/or contempt of court.
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             7.      Defense Counsel shall be responsible for advising his client, employees, and other
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     members of the defense team of the contents of this Stipulation/Order.
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             IT IS SO STIPULATED.
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     Dated: August 29, 2011                         Respectfully submitted,
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23                                                          BENJAMIN B. WAGNER
                                                            United States Attorney
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                                                    By:     /s/ Jean M. Hobler
25                                                          JEAN M. HOBLER
                                                            Assistant U.S. Attorney
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 1                                                          By:    /s/ Preeti Bajwa
                                                                   PREETI BAJWA
 2                                                                 Counsel for SEAN McCLENDON

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 4                                                          ORDER

 5   IT IS SO ORDERED.

 6   September 1, 2011
 7                                                       __________________________________
 8                                                       MORRISON C. ENGLAND, JR
                                                         UNITED STATES DISTRICT JUDGE
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     DEAC_Signatu re-END:




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